       Case 1:21-cv-00198-RKE Document 2        Filed 04/28/21   Page 1 of 18



           UNITED STATES COURT OF INTERNATIONAL TRADE

     Global Aluminum Distributor
     LLC,                                               Court No. 21-00198
                          Plaintiff,

            v.

     United States and U.S. Customs
     and Border Protection,

                          Defendants.

                                       COMPLAINT

      Plaintiff, Global Aluminum Distributor LLC (“Global”), by and through its

attorneys, Craven Trade Law LLC, alleges and states the following claims against the

defendants United States of America (“USA”) and U.S. Customs and Border

Protection (“CBP”) (collectively “US”).

                                   JURISDICTION

      1.     This action is brought pursuant to the section 517(g) of the Tariff Act

of 1930, as amended by the Trade Facilitation and Trade Enforcement Act of 2015

(“EAPA”) to contest the November 2, 2020 decision of U.S. Customs and Border

Protection (“CBP”) and its March 18, 2021 Administrative Review determination.

See 19 U.S.C. §1517(g).

      2.     The United States Court of International Trade has exclusive
ComplaintCase 1:21-cv-00198-RKE Document 2         Filed 04/28/21   Page 2 of 18
Global Aluminum Distributor LLC v. United States
Ct. No. 21-00198
April 28, 2021
Page 2

jurisdiction over this action under 28 U.S.C. §1581(c) as this action is commenced

pursuant to 19 U.S.C. § 1517.

                                       STANDING

        3.     Plaintiff Global Aluminum Distributor LLC (“Global”) is a

corporation organized under the laws of Florida. Global imported and sold certain

Aluminum Extrusions produced in the Dominican Republic subject to CBP’s

evasion investigation and is an interested party pursuant to 19 U.S.C. § 1517(a)(6)

and 28 U.S.C. § 2631(k)(1).

        4.     Following CBP’s determination of evasion, Plaintiff is subject to

antidumping and countervailing duties and is therefore adversely affected or

aggrieved by agency action within the meaning of section 702 of the Administrative

Procedures Act, as amended, 5 U.S.C. § 702, and is entitled to commence this

action pursuant to 28 U.S.C. § 2631(i).

                           TIMELINESS OF THIS ACTION

       5.    CBP’s Office of Trade Regulations and Rulings issued its final affirmative

determination of evasion on November 2, 2020 and its results of the Administrative

Review on March 18, 2021.

       6.    Plaintiff Global is commencing this action with the concurrent filing of a

summons and complaint, within 30 business days after publication of CBP’s
ComplaintCase 1:21-cv-00198-RKE Document 2         Filed 04/28/21   Page 3 of 18
Global Aluminum Distributor LLC v. United States
Ct. No. 21-00198
April 28, 2021
Page 3

administrative review of March 18, 2021 decision and has adhered to all service and

notification requirements as set out by the Rules of the U.S. Court of International

Trade. See Rules 3 and 4 of the Rules of the U.S. Court of International Trade.

Accordingly, plaintiff Global has commenced this action within the statutorily

prescribed time limits specified in 19 U.S.C. § 1517(g)(1).

                      THE ADMINISTRATIVE PROCEEDINGS

       7.       On July 11, 2019, Ta Chen International Inc. (“Ta Chen”) filed an

allegation that Global Aluminum was importing certain Aluminum Extrusions that

were being transshipped through the Dominican Republic (“DR”) in order to avoid

paying antidumping and countervailing duties imposed on Aluminum Extrusions from

China.      By phone call CBP requested that Ta Chen revise deficiencies in the initial

allegation.     The initial allegation, the follow-up phone call, and any subsequent

submissions by Ta Chen that predated what CBP has treated as the allegation, have

not been provided in any form to Kingtom Aluminio SRL (“Kingtom”) or the

importers.

       8.       On July 31, 2019, prior to initiating an investigation, or even

acknowledging receipt of an allegation, CBP conducted a site visit of Kingtom’s facility.

CBP has never provided a full and complete copy of this site visit, but rather has

selectively cited portions of the visit.
ComplaintCase 1:21-cv-00198-RKE Document 2         Filed 04/28/21   Page 4 of 18
Global Aluminum Distributor LLC v. United States
Ct. No. 21-00198
April 28, 2021
Page 4

       9.      On August 22, 2019, Ta Chen filed a supplemental allegation that the

importers evaded the AD/CVD Orders on Aluminum Extrusions from the People’s

Republic of China by importing aluminum extrusions from Kingtom in the

Dominican Republic.

       10.     CBP acknowledged receipt of Ta Chen’s supplemental allegations on

October 9, 2019.

       11.     On October 31, 2019, CBP initiated Consolidated Case No. 7348 with

regard to multiple importers including Global Aluminum.

       12.     On February 19, 2020 CBP sent a request for information to Kingtom

and to the importers that were a party of the investigation.

       13.     Kingtom submitted its RFI response on March 13, 2020 and in this

response Kingtom explained the production capacity of its equipment, provided daily

extrusion production records for its extrusion machines, and listed all of its suppliers

of aluminum raw materials and the materials they supplied.                Kingtom also

documented its production process from order acknowledgement through shipment.

       14.     Global Aluminum timely submitted its RFI response and in this

response provided all of the information in its possession with respect to its business

relations with Kingtom including details as to visits made by Global Aluminum to

Kingtom and detailed information regarding Kingtom’s production capacity
ComplaintCase 1:21-cv-00198-RKE Document 2         Filed 04/28/21   Page 5 of 18
Global Aluminum Distributor LLC v. United States
Ct. No. 21-00198
April 28, 2021
Page 5

information.

       15.     The other importers submitted their responses to CBP’s RFI’s providing

substantial information about their relationships with Kingtom.

       16.     On May 22, 2020, Global made a voluntary submission factual

information establishing that there is no evidence to support Ta Chen International’s

allegation of trans-shipment.

       17.     On June 3, 2020, CBP issued a supplemental RFI to Kingtom, to which

it timely responded on June 17, 2020. In its supplemental RFI response, Kingtom

reported its theoretical production volumes based on the daily production records

reported in its RFI response. Kingtom also reported its monthly export and local sales

information, and further described its production process.

       18.     On June 19, 2020 CBP issued a supplemental RFI to Global Aluminum

to which it timely responded. In its supplemental RFI response, Global Aluminum

reported Kingtom’s theoretical production volumes based on the daily production

records reported in its RFI response. Global Aluminum also reported Kingtom’s

monthly export and local sales information, and further described Kingtom’s

production process. Global Aluminum provided further details about its purchases of

aluminum extrusions from Kingtom.

       19.     On September 30, 2020 Global Aluminum, in conjunction with the
ComplaintCase 1:21-cv-00198-RKE Document 2         Filed 04/28/21   Page 6 of 18
Global Aluminum Distributor LLC v. United States
Ct. No. 21-00198
April 28, 2021
Page 6

other importers, submitted legal argument to CBP.

       20.     On September 30, 2020 Kingtom submitted legal argument to CBP.

CBP refused to consider such argument and returned such argument to Kingtom.

       21.     On July 16, 2020 Global Aluminum filed a request with CBP that

EAPA Case Number 7348 be consolidated with EAPA Case Number 7423. Global

Aluminum was named as a respondent in both of these investigations. This request

detailed how these cases substantially overlapped and how the two concurrent

investigations placed Global Aluminum in the situation where it was being forced to

respond to the same allegations in two matters on essentially identical facts and claims.

       22.     CBP rejected the request for consolidation, but engaged in a de facto

consolidation for its own benefit, by placing the record of 7348 on the record of 7423.

       23.     On November 2, 2020, CBP issued its initial determination of evasion,

finding that Kingtom was able to produce aluminum extrusions in the Dominican

Republic, but that Kingtom’s failure to submit accurate information and cooperate to

the best of its ability meant that CBP was unable to determine that Kingtom actually

produced all of the aluminum extrusions it sold. CBP therefore inferred that all

merchandise imported to the United States by the Importers contained co-mingled

Chinese and Dominican Republic origin aluminum extrusions.

       24.     On December 16, 2020 the importers submitted a Request for a de
ComplaintCase 1:21-cv-00198-RKE Document 2         Filed 04/28/21   Page 7 of 18
Global Aluminum Distributor LLC v. United States
Ct. No. 21-00198
April 28, 2021
Page 7

novo Administrative Review of the November 2, 2020 CBP determination

       25.     On December 16, 2020 the foreign manufacturer, Kingtom, submitted a

request for a de novo Administrative Review of the November 2, 2020 CBP

determination.

       26.     On December 17, 2020 CBP rejected and refused to consider

Kingtom’s request for an Administrative Review.

       27.     On March 18, 2021 CBP issued its determination in the de novo

administrative review finding that “when looking at the totality of the circumstances

regarding evidence of Kingtom’s actual production levels coupled with Kingtom’s

affiliations with China, a finding of evasion due to the commingling of Chinese-origin

aluminum extrusions with Dominican Republic-origin aluminum extrusions is

supported by substantial evidence in the record. There is more than a “mere scintilla”

of evidence to support this finding of evasion.” In making this determination, CBP

expressly stated that it would not address the remaining arguments made by the

importers.

                               STANDARD OF REVIEW

       28.     The standard of review of an initial determination under 19 U.S.C. 1517

(c) or an administrative review of such determination under 19 U.S.C. 1517(f) is set

forth in 19 U.S.C. 1517(g)(2) as follows:
ComplaintCase 1:21-cv-00198-RKE Document 2             Filed 04/28/21   Page 8 of 18
Global Aluminum Distributor LLC v. United States
Ct. No. 21-00198
April 28, 2021
Page 8


          In determining whether a determination under subsection (c) or review
          under subsection (f) is conducted in accordance with those
          subsections, the United States Court of International Trade shall
          examine—
       (A) whether the Commissioner fully complied with all procedures under
       subsections (c) and (f); and
       (B) whether any determination, finding, or conclusion is arbitrary,
       capricious, an abuse of discretion, or otherwise not in accordance with
       law.

                                         CLAIMS

                                      COUNT ONE

        29.    The allegations of paragraphs 1 through 28 are incorporated by

reference and restated as if fully set forth herein.

        30.    The EAPA statute and implementing regulations do not provide the

affected parties the right to fully and actively participate in the proceedings and are

unconstitutional and violate the 5th Amendment Due Process Clause.

                                     COUNT TWO

       31.     The allegations of paragraphs 1 through 28 are incorporated by

reference and restated as if fully set forth herein.

       32.     An importer participating in an administrative review has a due process

right to “notice and a meaningful opportunity to be heard.” PSC VSMPO-Avisma

Corp. v. United States, 688 F.3d 751, 761-62 (Fed. Cir. 2012)(quoting LaChance v.

Erickson, 522 U.S. 262, 266 (1998)); see also U.S. Const. art. 5.
      ComplaintCase 1:21-cv-00198-RKE Document 2         Filed 04/28/21   Page 9 of 18
      Global Aluminum Distributor LLC v. United States
      Ct. No. 21-00198
      April 28, 2021
      Page 9

               33.   CBP states that the regulations it promulgated to govern investigations of

      evasion claims seek “to make the proceedings under the EAPA as transparent as

      possible and to provide for full participation and engagement by all parties involved in

      an EAPA proceeding.” Investigation of Claims of Evasion of Antidumping and

      Countervailing Duties, 81 Fed. Reg. 56,477, 56,479 (Dep’t Homeland Sec. August 22,

      2016).

               34.   The adverse inferences provision, as applied by CBP, deprives the

      investigated party of notice as to what information is missing and does not provide an

      opportunity to redress the missing information before a final determination is reached,

      violating the party’s right to a meaningful and fair proceeding.

               35.   In its regulations governing how evasion claims will be investigated, CBP

      only considers the party filing the allegation and the accused importer to be parties to

      the evasion investigation. 19 C.F.R. § 165.1. CBP’s regulations foreclose other

      interested parties from fully participating in the proceedings and unlawfully narrow the

      scope of participation provided for under EAPA for “interested parties,” as defined by

      19 U.S.C. § 1517(a)(6).

36.    The statute does not preclude CBP from accepting Kingtom’s voluntary submissions,

       but rather CBP claims to have discretion as to whether to accept such submissions.

       Because CBP denied Kingtom an adequate opportunity to participate, it also denied
      ComplaintCase 1:21-cv-00198-RKE Document 2         Filed 04/28/21   Page 10 of 18
      Global Aluminum Distributor LLC v. United States
      Ct. No. 21-00198
      April 28, 2021
      Page 10

       Global Aluminum’s rights to have all necessary information of record.

37.    CBP’s failure to allow Kingtom to participate deprives plaintiff of the contribution of

       the party in possession of the information in the proceeding.

38.    CBP’s decision to not allow Kingtom to participate and submit information and

       argument is arbitrary, capricious, an abuse of discretion, and otherwise not in

       accordance with law, in violation of 19 U.S.C. §1517(g)(2)(B) and 5 U.S.C. § 706.

                                            COUNT THREE

39.    The allegations of paragraphs 1 through 28 are incorporated by reference and

       restated as if fully set forth herein.

40.    At every stage of the evasion investigation, CBP refers to and relies upon

       information submitted by alleger and information gathered by CBP in the course of

       its investigation.   CBP relied upon such information to support its finding of

       transshipment.       Despite relying on such information, CBP never provided

       unredacted copies of such information to Global Aluminum.

41.    CBP’s administration of the investigatory and administrative proceedings, including

       its decisions not to release evidence necessary for Global Aluminum to raise its

       defenses and to heavily redact administrative record submissions is arbitrary,

       capricious, an abuse of discretion, and otherwise not in accordance with law, in

       violation of 19 U.S.C. § 1517(g)(2)(B) and 5 U.S.C. § 706.
      ComplaintCase 1:21-cv-00198-RKE Document 2         Filed 04/28/21   Page 11 of 18
      Global Aluminum Distributor LLC v. United States
      Ct. No. 21-00198
      April 28, 2021
      Page 11

                                                COUNT FOUR

42.    The allegations of paragraphs 1 through 28 are incorporated by reference and

       restated as if fully set forth herein.

43.    A determination as to whether covered merchandise was entered through evasion

       must be based on substantial evidence. 19 U.S.C. § 1517(c)(1)(A); 19 C.F.R. §

       165.27(a).

44.    The March 18, 2021 Decision that “when looking at the totality of the circumstances

       regarding evidence of Kingtom’s actual production levels coupled with Kingtom’s

       affiliations with China, a finding of evasion due to the commingling of Chinese-origin

       aluminum extrusions with Dominican Republic-origin aluminum extrusions is

       supported by substantial evidence in the record.” is based on an explanation that runs

       contrary to record evidence before the agency and is arbitrary and capricious, and is

       in violation of 19 U.S.C. § 1517(g)(2)(A) and 5U.S.C. § 706.

                                                COUNT FIVE

45.    The allegations of paragraphs 1 through 28 are incorporated by reference and

       restated as if fully set forth herein.

46.    CBP failed to follow its regulations in the conduct of this investigation including

       failing to place certain documents on the record, assisting alleger in refining their

       allegation without placing anything on the record, and conducting a site visit of
      ComplaintCase 1:21-cv-00198-RKE Document 2         Filed 04/28/21   Page 12 of 18
      Global Aluminum Distributor LLC v. United States
      Ct. No. 21-00198
      April 28, 2021
      Page 12

       Kingtom prior to initiating the EAPA investigation.        Such site visit was without

       statutory authority.

47.    An investigation conducted without due regard for the regulations is unlawful and

       cannot be allowed to stand.

                                                COUNT SIX

48.    The allegations of paragraphs 1 through 28 are incorporated by reference and

       restated as if fully set forth herein.

49.    CBP expressly stated that it would not consider certain arguments presented by the

       importers in the Administrative Review process, and to the extent that it did consider

       such issues, it barely addressed such issues.

50.    CBP gave undue weight to evidence submitted by alleger and did not give proper

       weight to evidence provided by importers.

51.    The failure to consider certain arguments presented by importers and the failure to

       give proper weight to the evidence submitted by all parties impermissibly tainted the

       results of the investigation and rendered the underlying determinations invalid.

                                            COUNT SEVEN

52.    The allegations of paragraphs 1 through 28 are incorporated by reference and

       restated as if fully set forth herein.

53.    The Eighth Amendment of the U.S. Constitution provides that “Excessive bail shall
      ComplaintCase 1:21-cv-00198-RKE Document 2         Filed 04/28/21   Page 13 of 18
      Global Aluminum Distributor LLC v. United States
      Ct. No. 21-00198
      April 28, 2021
      Page 13

       not be required, nor excessive fines imposed, nor cruel and unusual punishments

       inflicted” If the extraction or assessment is a fine, it must not be excessive.

54.    Antidumping and Countervailing Duties based on adverse inferences constitute a

       fine. The Supreme Court stated: “{w}e think it significant that, at the time of the

       drafting and ratification of the Amendment, the word "fine" was understood to mean

       a payment to a sovereign as punishment for some offense. BFI, Inc. v. Kelco

       Disposal, Inc., 492 U.S. 257 (1989).

55.    A fine is an exaction which is at least partially penal in nature. The Supreme Court

       stated:

             “"[A] civil sanction that cannot fairly be said solely to serve a remedial
             purpose, but rather can only be explained as also serving either
             retributive or deterrent purposes, is punishment, as we have come to
             understand the term." In light of the historical understanding of forfeiture
             as punishment, the clear focus of §§ 881(a)(4) and (a)(7) on the
             culpability of the owner, and the evidence that Congress understood
             those provisions as serving to deter and to punish, we cannot conclude
             that forfeiture under §§ 881(a)(4) and (a)(7) serves solely a remedial
             purpose. We therefore conclude that forfeiture under these provisions
             constitutes "payment to a sovereign as punishment for some offense," and,
             as such, is subject to the limitations of the Eighth Amendment's Excessive
             Fines Clause.
             Austin v. United States 509 U.S. 602 (1993)

56.    The duties imposed on the importers as a result of an affirmative finding under the

       EAPA statute are subject to the China-Wide rate.         The China-Wide rate is a rate

       based on Adverse Facts and are intended to deter non-compliance with the
      ComplaintCase 1:21-cv-00198-RKE Document 2         Filed 04/28/21   Page 14 of 18
      Global Aluminum Distributor LLC v. United States
      Ct. No. 21-00198
      April 28, 2021
      Page 14

       antidumping duty laws.         Such duties constitute a fine for purposes of the 8th

       Amendment.

57.    The amount of any fine that falls under the 8th Amendment must be reasonably

       related to the conduct of the importer.

58.    There is no showing of any bad conduct on the part of the importers which would

       justify a fine on the importer.

59.    As the resultant fine is in violation of the 8th Amendment of the U.S. Constitution, the

       underlying EAPA proceeding is also unconstitutional.

                                            COUNT EIGHT


60.    The allegations of paragraphs 1 through 28 are incorporated by reference and

       restated as if fully set forth herein.

61.    Congress authorized CBP to initiate an investigation under EAPA only if CBP

       determines that information “reasonably suggests that covered merchandise has been

       entered into the Customs Territory of the United States through evasion.” A review

       of the full allegations, both public and confidential, demonstrate that CBP had no

       basis to initiate this investigation, that the evasion determination resulting from an

       improperly initiated investigation should be vacated, and the investigation should be

       terminated ab initio.

62.    CBP’s initiation determination was thus unsupported by reasonable evidence and was
      ComplaintCase 1:21-cv-00198-RKE Document 2           Filed 04/28/21   Page 15 of 18
      Global Aluminum Distributor LLC v. United States
      Ct. No. 21-00198
      April 28, 2021
      Page 15

       otherwise not in accordance with law.

                                                COUNT NINE


63.    The allegations of paragraphs 1 through 28 are incorporated by reference and

       restated as if fully set forth herein.

64.    A party cannot be subject to two proceedings under the same statute for the same

       conduct and the same entries.            Such action violates long-standing principles of

       fundamental fairness.

65.    Global Aluminum was named by CBP in both this investigation (7348) and a

       subsequent investigation (7423). Both investigations involved the purported evasion

       of the antidumping and countervailing duties on Aluminum Extrusions by means of

       purported transshipment through the Dominican Republic.                Both investigations

       involved Global Aluminum’s importations from Kingtom.                 Both investigations

       related to substantially the same entries.

66.    Global Aluminum was forced to participate in two proceedings and bear the

       substantial expense of fighting the an identical issue twice.

67.    Global Aluminum requested that CBP consolidate the two investigations pursuant to

       the statute and CBP’s policies with respect to consolidation.

68.    CPB refused to consolidate these two investigations, but rather placed the

       information from 7348 or the record of 7423.
      ComplaintCase 1:21-cv-00198-RKE Document 2         Filed 04/28/21   Page 16 of 18
      Global Aluminum Distributor LLC v. United States
      Ct. No. 21-00198
      April 28, 2021
      Page 16

69.    CPB’s refusal to consolidate these two investigations was an abuse of discretion and

       violated Global Aluminum’s fundamental rights to due process.

70.    To the extent that CBP makes a negative determination in this investigation, such

       determination must be controlling with respect to Global Aluminum on investigation

       7423.

                                                COUNT NINE


71.    The allegations of paragraphs 1 through 28 are incorporated by reference and

       restated as if fully set forth herein.

72.    The position of the United States and U.S. Customs and Border Protection was not

       substantially justified at the Administrative Level and there are no special

       circumstances which would make an award of fees unjust.

73.    5 U.S. Code § 504 provides for the awarding of fees in connection with

       Administrative Proceedings.

74.    Global Aluminum should have prevailed in a proper administrative proceeding and

       otherwise qualifies for an award of fees.

75.    This Court, upon finding that CBP’s determination is in error, should order fees in

       connection with the underlying administrative action.
ComplaintCase 1:21-cv-00198-RKE Document 2         Filed 04/28/21   Page 17 of 18
Global Aluminum Distributor LLC v. United States
Ct. No. 21-00198
April 28, 2021
Page 17

                                 PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff respectfully requests that this Court enter

judgment as follows:

      1.     Sustaining counts one through ten of plaintiff’s complaint;

      2.     Remanding this matter to U.S. Customs and Border Protection with

             instructions that CBP terminate this investigation and order the

             liquidation of entries without the addition of Antidumping and

             Countervailing Duties;

        3.   Remanding this matter to U.S. Customs and Border Protection with

             instructions that CBP terminate investigation 7423 with respect to Global

             Aluminum and order the liquidation of entries without the addition of

             Antidumping and Countervailing Duties;

        4.   Find that the position of the United States and U.S. Customs and Border

             Protection was not substantially justified and that special circumstances do

             not exist which would make an award unjust;

      5.     Awarding attorney’s fees and costs as appropriate; and
ComplaintCase 1:21-cv-00198-RKE Document 2           Filed 04/28/21   Page 18 of 18
Global Aluminum Distributor LLC v. United States
Ct. No. 21-00198
April 28, 2021
Page 18



      6.     Providing such other relief as the court may deem just and appropriate.


                                                   Respectfully submitted,


                                                   David J. Craven
                                                   Craven Trade Law LLC
                                                   3744 N Ashland Avenue
                                                   Chicago, IL 60613

                                                   (773) 709-8506
                                                   Counsel for Global Aluminum
                                                   Distributor LLC


                                                   By:    /s/David J. Craven
                                                           David J. Craven


Dated: April 28, 2021
